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4/11/2014                                             Ray Kellys Gulag I Village

  New York Village Voice




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    Ray Kelly's Gulag
                             .                          By Keegan
                                                        Hamilton
                                                                                                       By Albert
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                                                                                                                                                 By Village Voice
                                                                                                                                                 staff




   By Graham Raym an Wednesday, Nov 162011

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                                                                                      Comrnls (23) A A

                                                                                               i ~.i               .        The Ten Best Movie Penormances by Nicolas
                                                                                                                            Cage




                                                                                                                   II
                                                                                                                            Local Strppers Horrfied by Old Folks' Hom e
    I'" Ii,'" Commissioner Ray Kelly keeps a secret list of      police offcers who cannot be                               Lawsuit
   transferred without his specific approval. The list, which the Voice obtained from an NY I'D
   employee, is part of a 23-page spreadsheet that contains the names of 2,300 offcers, their
   ranks, their I D numbers, old units, new units, and coded descriptions of thousands of
   personnel decisions throughout the past several years. Strangely, the document isn't
   marked with any police insignia or command titles.
                                                                                                                   . ~      The Poetr Issue: Free Verse - A New York
                                                                                                                            Mscellany




   I n all, according to the list, Kelly banned transfers without his specific approval for at least
   96 police offcers over the past several years and rejected pending transfers for at least 59
   more, which overrules his subordinates. He also transferred 228 offcers to VIPER, where
   cops sit and stare at video screens to monitor crime in public housing-a unit seen as a
   dumping ground for those in trouble or out ofíavor, where careers can languish for years,
   Hundreds more names on the list are of offcers 'hansferred for cause," or sent to another
                                                                                                                     ~~
                                                                                                                      ~1ilJ
                                                                                                                       TICKET ON SAE NOW! e
   command for some transgression, which could be anything from serious misconduct to
   irritating a commander.

   Most of   the offcers who made the list don't know that the commissioner essentially froze
   their careers in place, in what some department insiders say is Kelly's version ofthe city's
   notorious former "rubber room" system for teachers awaiting adjudication oftheir cases,                         lr~i6:~E~~n .1
   where they were asked to sit indefinitely in classrooms away from students. Others call the
   list Kelly's "gulag," a way of punishing offcers without forcing them to retire or quit.                             INSTANT QUTES
                                                                                                                       , AFFORDABE
   Oncc a name goes on the list, it doesn't come off, even after years have passed and an offcer                        FLAT-RATE PRICING
   has heen brought back into the fold-a circumstance that someone likened to being forced
   to wear a scarlet letter for the duration of     his or her career. In its stark, clipped language,
   the secret spreadsheet offers a rare insight into how the department is run by Kelly, who
   will soon become the city's longest-serving police commissioner. It also might give an
   indication of   how he would run the city ifhe runs for and is elected mayor.




                                                                                                                   .        Mami Has the Lowest Percentage of People
   Most importantly, the list confirms Kelly's reputation as a micro manager who reviews just                               Working in Science
   ahout every transfer that takes place in the largest police department in the country.                                   Miami New Times



   ¡\,,,I Browne, a police spokesman, did not respond to Voice requests for a discussion of            the M20na's Medical-Marijuana Pioneers Don1
   spreadsheet. They Are Certin of the Prize                                                                                Know the Final Rules of the Game Yet - But


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                                                                                                       II
                                                    Ray Kelly has a big job, overseeing 40,000                     Phoenix New Time:s

                                                    employees and a multibilion-dollar budget
                                                    larger than that of at least five states. But he




                                                                                                       ~
                                                    is apparently also involved in many                            The Sky's the Limit for Home Pnees in Phoenix,
                                                    decisions that used to be delegated to                         But for How Long?
                                                                                                                   Phoenix New Times
                                                    subordinates.

                                                    To put it in context, prior to Kelly, police
                                                    commissioners did not bother with low-level,
                                                    routine transfers.




                                                                                                       .
                                                                                                                          Writers Rally For Ai Weiwei at
                                                                                                                          Brooklyn Public Library
                                                    in the old days, the police commissioner
                                                    didn't get involved in that,"   says a former
                                                    Kelly staffer. 'The borough commanders
                                                                                                                          Nicolas Cage's 10 Best Movie
                                                    would call each other and say, 1 need to                              Roles
                            Rich - l-ar N2GOT Brr
                                                    move a guy,' or, 1 need a guy from Precinct
                                                    X.' Kelly centralized all of that."




                                                                                                       lt
                                                                                                                          This Week in Film for April       11 ,
                                                    Insiders attribute Kelly's involvement in                             2014
                                                    these decisions to the behavior of     his
                                                    predecessor, Bernard Kerik, who, over
                                                    Kelly's objections, promoted a large number                                               More Slideshows ""

                                                    of   his NYPD cronies during his last days in
                                                    offce.
                                                                                                       g.~ RUNNIN' SCARED
                                                    The source says that he often saw Kelly come        . 10 Things to Do for Less Than $10 in NYC

                                                    into his 14th-floor offce at One Police Plaza       . ! .' This Weekend
                                                    on Sunday afternoons to pore over transfer
                                                    requests and related documents.                    .., , At Least 60 Feral and Outdoor Cats Have
                                                                                                       ~ Vanished in Astoria

                                                    That's a different image than the one Kelly



                                  Rikr - Marc Ead
                                                    himself   has been promoting lately as his
                                                    department is hit with a series of corruption
                                                    cases. Kelly has put these problems down to
                                                                                                       lI      Supreme Foarnosite Sales Show How
                                                                                                               Secondary Market Dominates Sneaker Trade



                                                    a "few bad apples," as if   there were things                                         More News Stories :;
   Related Stories
                                                    going sour in his department that he was
   Watch Ray Kelly Driven
   From the Sta~e by                                unaware of.
   1Il"'klers at Bro"TI
   i-nh:ersitv
   October 30: 2013                                 Murray Weiss, a respected longtime police




                                  .
   \'ideo: Ro¡ue A TV Rider                         reporter now    writing for DKAinfo, recently
   Est'apes Broolyn Cops                            noted that the 'bad apple approach may
   March 4,2014
                                                    deflect a troublesome story, but it has
                                                    insidious shortcomings. It sends the message




                                  .
   It's Too Easy to Kill                            that the NYPD is a closed society that wil
   Pedestrian~ in New      York
   (it~                                             protect its own."
   February 5, 2014

                                                    The spreadsheet ilustrates, however, that



                                  II
   KIHii'kout Attack
   '"\ïdim" Admits He May                           Kelly is even more hands-on than he lets on
   lIa\c Just Tripped;                              with individual police offcers he considers
   ThreatenstoSue
    \nyway                                          problematic in some way. I n this story, we
   March28,2014




                                  .
                                                    have looked at some ofthe many decisions
   Transcript of Ray Kelly's
   ~('v('r~Di~iivered Bro'\'T                       Kelly has made that are indicated in the
   lniversity Speech
   Leaked                                           spreadsheet. In some cases, we do not have a
   December 27, 2013
                                                    complete set offacts or history to explain
                                                    Kelly's decisions. For that reason, the Voice

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                                                                                                                           "~....""
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                                                         is withholding some names that appear on



                                                                                                                              ,
    More     About
                                                         the list.
    Ray Kelly            ,Joseph Hotta
    'lew York City       Politics                        One ofthe offcers designated "do not transfer
    Police
    Department            Lol Politics                   without PC approval"      is ,James Albertelli, who

    Like this Story?
    Sign up for the Weekly Newsletter: (Sent
                                                         was indicted in 2005 on bribery and
                                                         coercion charges when he was assigned to
                                                         the 13th Precinct in Manhattan.
                                                                                                                          r~ün!~A~n '
    nut every Thursday) Our weekly feature                                                                          It         MATCHING YOU WITH
    storíes, movie reviews, calendar picks and                                                                      ,
    Tn ore - minus the newsprint and sent
                                                         But in 2006, he was acquitted of all charges,
                                                                                                                             INSURED, EXPERIENCED
    directly toyour inbox.
                                                         and Patrolmen's Renevolent Association boss                                 PAINT CREWS.
     enter email
                                                         Patrick LYnch called it a "politically
                                               motivated case." 'With nothing more than a
   bogus complaint and no evidence, the DA's offce charged two honorable police offcers in a
                                                                                                                   Ii INSTANT DIITE
   successful attempt to generate pre-election publicity,"           Lynch said.                                         AFFORDABLE
                                                                                                                         FLAT-RATE
   And then, in January 2008, Albertell was transferred to the 111 th Precinct with the
   notation "Dn't move again witbout PC approval."                                                                       PRICING
                                                                                                                   ..
   Was that failed indictment enough to plant the scarlet letter on Albertelli for the rest of his
   career? Did he get in trouble for something else?

   Some of    the people on the list seem to be there for insignificant reasons. The entry next to
   thc name of another offcer, Kathleen Clifford, reads, "D not transfer again without explicit
   PC approvaL" Clifford's "crime": Records show that she arrived at work 25 minutes late. Her
   sergeant told her to change into her uniform immediately. Instead, she detoured to look at
   a sheet that listed assignments for the day. As a result, she was penalized 10 vacation days
   for failing to comply with a supervisor's order. That seems like a fairly inconsequential
   transgression.

                                                                                                               Stephanie Zacharek at Cannes Fjm Festival
   Detective Roland Gutierrez, similarly, was sent to the 24th Detective Squad, again with the
                                                                                                               The 2013 New York Fjm Festival
   notation "D not move without PC approval."Why? Well, it might have had to do with a
   discrimination lawsuit that Gutierrez, then with the 52nd Precinct in the Bronx, filed in                   The NYFÐ Tapes: The Village Voice's Series on Adrian Schocraft by
                                                                                                               Graham Rayman
   2007 with three other Latino detectives.
                                                                                                               The Village Voice's Exclusive Banksy hterview

   I n suing Kelly and several other bosses, Gutierrez and his co-workers alleged that white                                                               More Special Reports ""
   investigators received more overtime and better assignments, court records show. They
   also alleged that they were passed over for promotions, and their requests for transfer were
   ignored.

   Gutierrez was also accused ofusing a department vehicle to drive his civilian girlfriend to a
   baseball game and a restaurant and was placed on modified assignment. That might have
   been the reason, too.

   Ofcer Luis Gutierrez was similarly frozen. His entry reads: "Do not transfer out of property
   clerk without PC approvaL."



   Some offcers who make the "do not transfer"         list go on to distinguish themselves. Antonio
   I~sp(hito made the list, but by last May, apparently, he had been rehabilitated, testifying as
   a key witness for prosecutors in the case of a woman beaten into a coma during a parking
   dispute.

   l"IT"s Gillespie was sent to tbe Sixth Precinct after being swept up in a Brooklyn South
   Narcotics investigation that resulted in many transfers of          police offcers. Gilespie in 2009
   was honored by the Greenwich Village-Chelsea Chamber of               Commerce as a "cop of    the year"

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    for catching a serial armed robber who committed numerous crimes in 2008.

    In 2000, Detectivc .Joscph Perry was lauded for his work in catching the murderer of a

   young social worker in Brooklyn. In 2006, he was credited with his role in an investigation
   that led to the arrest of a Queens man with a cache of        firearms in his home. But he, too,
    ended up on the "do not transfer"list.

    .~ngcant Michael Miller was also placed on the "do not transfer"list, one of       about a dozen
    offcers put on there following an investigation of corruption allegations in Brooklyn South
   Narcotics. The notation sends him to the 120th Precinct in Staten Island.

    Last month, MiIer saved his own life during a struggle with a gunman by ingeniously
   sticking his finger into his assailant's gun barrel and forcing his thumb between the hammer
   and the firing pin. In other words, an offcer who was transferred in the wake of one
   investigation was hailed as a hero a few years later.

   Perhaps the most famous offcer to be frozen in place by Kelly is Kenneth Boss, who was one
   of   the four offcers who shot and killed unarmed Guinean immigrant Amadou Diallo in 1999.
   For the past 13 years, Boss, who is stiI on the force, has been without his police-issued guns
   and assigned to nonenforcement duties.

   Although Boss was acquitted of all charges in the Diallo case, Kelly refuses to rehabilitate
   him. which is understandable. Boss has sued twice to force the department to return him to
   full duty, but the lawsuits were dismissed each time.

   And then there's Richard Ncri, who shot and killed unarmed 19-year-old Timothv
   :-t;ill'hurv in early 2004. Kelly suspended him for 30 days. Neri was placed on the "do not
   transfer"list and sent to the propert clerk division, where he will presumably serve out his
   career but remain employed and likely receive a pension. The city paid $2 milion to settle
   a lawsuit filed by Stansbury's family.


                                                  list is Alain Schahcrgcr. According to the
   Another offcer who made Kelly's "do not transfer"

   entry, Schaberger had been on modified assignment for some reason in the Manhattan
   South command. Kelly ordered him transferred from Manhattan South to the 84th Precinct
   in Brooklyn.


   I n March, as he was responding to a domestic-violence call in the 84th, Schaberger was
   pushed over a railing and struck his head, killng him. His funeral was attended by
   thousands of   police offcers, Commissioner Kelly, and Mayor Bloomberg, who referred to
   him as a "quiet, gentle souL." His commander called him a 'hue cop's cop."


   Kelly, the list indicates, appears to use certain units as dumping grounds for cops on the
   outs, including VIPER the propert clerks division, and the auto yards.

   VIPER is a unit assigned to city housing projects, where offcers monitor closed-circuit
   video cameras and look for crimes in progress.


                                            serious misconduct, but it is also used to
   VIPER is used to offcers who are accused of

   marooned offcers who have angered their superiors or committed minor transgressions.
   I n those instances, the effect is to keep an offcer, who could be contributing to the fight
   against crime, off   the street. One cop spent three years in VIPER after he annoyed a senior
   department offcial by complaining about the conduct of a co-worker.

   The list goes beyond transfers and exhibits an amazing level of detail about the personal
   lives of offcers in the NYPD. It even includes the names of police offcers who are married


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    to other police offcers. Kelly keeps tabs on female offcers who are pregnant. And it lists
    the names of offcers referred for substance-abuse counseling or psychiatric help.

   The list also notes where certain offcers can or can't be transferred. For example,
   according to the spreadsheet, a sergeant was moved out ofthe Organized Crime Control
    Burt'au on the orders ofInternal Affairs chief        Charles Campisi. (The Voice is withholding the
    namc ofthe sergeant.) The notation reads: ''D not assign to Brooklyn or Queens. "The

   reason for this is unclear.

   Another entry indicates that Assistant Chief Joseph Cunneen ordered that Sergeant Steven
    \l..(;uire be transferred to a command near his house. 'Move closer to home AC Cunneen,"
   the entry for McGuire reads.

   That entry sounds an awfl lot like Cunneen was doing a favor for McGuire, and Kelly went

   along with it.

   And the list notes, in several instances, offcers who shouldn't be assigned in the same
   precinct with one another, presumably because they had some kind of             personal clash.

   Kelly, insiders say, doesn't like people coming directly to him to ask for favorable transfers
   for a protégé, nor does he like people using backdoor connections to win transfers.


   .lust two weeks ago, as the Daily News reported, Kelly ignored letters from State Senator
   Fr,,' ,\dams and Rronx Borough President Ruben Diaz.lr. asking him to appoint Lieutenant
    lZo!Hrt Gonzalez as head of    training.

   Instead, Kelly selected .lames O'Keefe, who held the         job during the mid-1990s. He described
   O'Keefe as someone who met the highest possible standards. He never interviewed

   Gonzalez, the News reported.

   For his part, Gonzalez was miffed that he didn't get the interview, tellng the News, it would
   have been nice to be granted an interview and taken seriously."

   Similarly on a number of occasions, the list shows, Kelly has rejected transfer requests in
   ways that appear to reject favoritism. For example, when Detective Denise Marcano was up
   to transfer to the Real Time Crime Center, where cops monitor crime trends, Kelly himself
   turned her down. The spreadsheet notes: "Dsapproved by PC. Has to go through channels."


   That entry suggests that someone tried to bring Marcano in through the back door, and
   Kelly rejected it.


   Other cases in which Kelly rejects transfers are less clear. Kelly "disapproved"the transfer
   of i iftìcer Denise .James from the 60th Precinct to Homeless Outreach.


   lIe also rejected the transfer of Ofcer Timothy Hennessey from the transit bureau to the
   elite Regional Intelligence Support Center.

   Another cop was about to go to the elite Major Case Squad, but that, too, was rejected by
   Kell".


   ""rg('ant Edward Flhington's impending transfer from the 67th Precinct in Brooklyn to the
   Public Security Section was also stopped cold by Kelly, as was .John Cronin's transfer to the
   Manhattan Traffc Task Force.

   Another curious entry in the list is for Ofcer Reginald .lones. The entry states: 'When
   receive paper from PC, transfer for cause to a busy lower Bronx precinct."

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   Evidently, Jones transgressed in some way, and he's being punished by being sent to a place
   where hell have to work harder.

   The use of     penalty transfers and freezing cops in place rather than firing them shows
   another side of Kelly, insiders say. 'He doesn't want to fire cops," a source says. 'He would
   rather stick    you somewhere to teach you a lesson, and then if       you straighten up, you can
   come back. He actually wants to give you a second chance."

   I ndeed, from January 2011 through the end of August, Kelly fired just two of 147 offcers
   found guilty of civilian-complaint-related disciplinary infractions.            In 2010, he fired no
   offcers from cases referred by the Civilian Complaint Review Boarò.


   That hesitancy to fire offcers can generate controversy. One cop who beat a fellow offcer
   with a beer mug wasn't fired. Instead, he was sent into VIPER for a couple of            years and then
   into reinstatement training to see ifhe was ready to return to enforcement duties.

   A cop critical ofthe handling ofthis offcer's case says: The NYPDshould have gotten rid of
   him sooner. Instead, his pension keeps getting bigger."


   Another cop, accused of making complaint reports disappear and stalking his commander's
                                                       and left there. When he retires, hell
   wife, also wasn't fired. Instead, he was sent to VIPER

   cost the city more than he would have had he been fired.

   A captain, meanwhile, accused of assaulting a female offcer wasn't fired for that attack. He
   kept his    job and his salary and is assigned to nonenforcement duties.

   There's also a police offcer who gets his full salary for signing in and then trudging off        to
   work a second job as a doorman at a downtown building.

   A fourth cop was caught moving steroids from Canada to the U.S. He was subsequently
   promoted to lieutenant.


   Kelly also labels some offcers "not suitable"for certain commands. The entry for a sergeant
   named Kpvin Finegan reads: 'Not suitable for assign to OCB lthe Organized Crime Control
   Bureau), returned to 43rd Precinct as per PC."



   The entry for Offcer ,Joseph Liotta, meanwhile, reads: 'Not suitable for highway."

   In January 2007, Uotta pulled over Hoboken, New Jersey, city councilman Chris C~mpDs

   Dn the West Side Highway. He and his partner determined that the councilman had been
   drinking.

   Liotta thought it would be a good idea to call Hoboken police and ask them what they
   thought of     Campos. The conversation was automatically tape-recorded.


   'Would it be a good or a bad thing for him to become a guest of         the city?"Uotta asked
   i ¡"¡,,ken Police Department duty sergeant .Jamcs Peck.

   The sergeant replied: 'Enforce the law. . . . The fact that we've been without a contract for
   two years, that's beside the point."

   Liotta arrested Campos on three drunk-driving misdemeauors. The councilman was found
   guilty of   two, fined, and lost his license for 90 days. Campos also lost his council seat.

   Kelly certainly could have fired Uotta for appearing to use his police powers to embarrass a
   politician, but his solution instead was a transfer.

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